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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF NEW MEXICO


FERMIN FUENTES,Individually and
On Behalf of All Others Similarly
Situated,

               Plaintiff,

V.                                                           No. 2:19-cv-00103-SWS-MLC


LA ESPERANZA MEAT MARKET,
INC.,LA ESPERANZA MEAT
MARKET-TIHARA,INC.,
GUILLERMO OROZCO


               Defendants.


                                    ORDER OF DISMSSAL


       THIS MATTER coming before the Court on the Joint Motion to Dismiss. For good cause

shown, and as more fully explained below, the Motion is GRANTED.

       The Court finds that a)the settlement between the parties is the compromise of bona fide

disputes under the FLSA,is the result of adversarial negotiations by the parties, and there is no

indication or suggestion that the settlement was the consequence of undue influence or

poor/nonexistent legal advice, b) all claims asserted in the lawsuit between the Plaintiffs Fermin

Fuentes, Alba C. Ayala, Alma 1. Flores, Laura Garcia, Theresa Garcia Lopez, Martha Hernandez,

Andy A. Martinez, Luz 1. Mata, Paula Juarez Moreno, Rosa Ruiz, Myma Soria, Jessenia P.

Sanchez, Susana M. Tena, Luis A. Torres Lara, Bertha L. Zavala and Yenis M. Lopez and

Defendants La Esperanza Meat Market, Inc., La Esperanza Meat Market-Tihara, Inc. and

Guillermo Orozco have been resolved and c)the settlement agreement entered into between the

parties is enforceable without the Court or United States Department of Labor approval.

       The claims of the Plaintiffs Fermin Fuentes, Alba C. Ayala, Alma 1. Flores, Laura Garcia,
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Theresa Garcia Lopez, Martha Hernandez, Andy A. Martinez, Luz I. Mata, Paula Juarez Moreno,

Rosa Ruiz, Myrna Soria, Jessenia P. Sanchez, Susana M. Tena, Luis A. Torres Lara, Bertha L.

Zavala and Yenis M. Lopez are DISMISSED WITH PREJUDICE pursuant to Rule 41 of the

Federal Rules of Civil Procedure.


IT IS SO ORDERED.



                                                       ED STATES DISTRICT JUDGE




APPROVED:


MORELAND VERRETT,P.C.

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